Case 1:03-cr-00354-KMW   Document 581     Filed 01/13/15   Page 1 of 1 PageID: 2489



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA                 HONORABLE JEROME B. SIMANDLE

          v.
                                                    Criminal Action
  WILLIAM OSCAR HARRIS,                           No. 03-354-01 (JBS)

                    Defendant.                             ORDER


      This matter having come before the Court on Defendant

 William Oscar Harris’ “motion for relief from void judgment” and

 “motion for preliminary injunction and order to show cause”

 [Docket Item 570], as well as his “motion for stay” [Docket Item

 572]; and

      The Court having considered the submissions of the parties;

 for the reasons discussed in the foregoing; and for good cause

 shown;

      IT IS this      13th       day of    January , 2015, hereby

      ORDERED that Defendant William Oscar Harris’ “motion for

 relief from void judgment” and “motion for preliminary

 injunction and order to show cause” [Docket Item 570] is DENIED;

 and it is further

      ORDERED that Defendant’s “motion for stay” [Docket Item

 572] is DENIED.

                                            s/ Jerome B. Simandle
                                           JEROME B. SIMANDLE
                                           Chief U.S. District Judge
